         Case 1:19-cr-00439-MLB-JKL Document 154 Filed 06/02/21 Page 1 of 2
             USCA11 Case: 21-11324 Date Filed: 06/02/2021 Page: 1 of 2


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                    For rules and forms visit
Clerk of Court                                                                    www.ca11.uscourts.gov


                                         June 02, 2021

Clerk - Northern District of Georgia
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 21-11324-JJ
Case Style: USA v. Nnamdi Mgbodile
District Court Docket No: 1:19-cr-00439-MLB-JKL-1

The enclosed copy of the Clerk's Entry of Dismissal pursuant to appellant's motion to dismiss is
issued as the mandate of this court. See 11th Cir. R. 42-1(a).

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Tiffany A. Tucker, JJ/lt
Phone #: (404)335-6193

Enclosure(s)




                                                          DIS-3 Letter and Entry of Dismissal Vol
     Case 1:19-cr-00439-MLB-JKL Document 154 Filed 06/02/21 Page 2 of 2
         USCA11 Case: 21-11324 Date Filed: 06/02/2021 Page: 2 of 2


                     IN THE UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT

                                      ______________

                                      No. 21-11324-JJ
                                      ______________

UNITED STATES OF AMERICA,

                                                Plaintiff - Appellee,

versus

NNAMDI MARCELLUS MGBODILE,

                                           Defendant - Appellant.
                     __________________________________________

                        Appeal from the United States District Court
                            for the Northern District of Georgia
                     __________________________________________

ENTRY OF DISMISSAL: Pursuant to Appellant Nnamdi Marcellus Mgbodile's motion for
voluntary dismissal, FRAP Rule 42 and 11th Cir. R. 42-1(a), the above referenced appeal was
duly entered dismissed on this date, effective June 02, 2021.

                                     DAVID J. SMITH
                          Clerk of Court of the United States Court
                             of Appeals for the Eleventh Circuit

                           by: Tiffany A. Tucker, JJ, Deputy Clerk

                                                        FOR THE COURT - BY DIRECTION
